     LOCAL FORM FOR A CHAPTER 13 PLAN UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 3015.1 AND
                                  ADMINISTRATIVE ORDER NO. 17-04

                                                         UNITED STATES BANKRUPTCY COURT
                                                       FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

            Karen Leontine Pasley                                                  CASE NO.
                                                                                   CHAPTER 13
S.S.#      xxx-xx-8820                                                             JUDGE Phillip J. Shefferly
        Debtor

and                                                                                                 PLAN SUMMARY
                                                                                              For informational purposes only.
                                                                                    ACP: 36 Months
                                                                                    Minimum Plan Length: 60 Months
S.S.#
                                                                                    Plan payment: $ 1,505.00 per Month
     Joint-Debtor
                                                                                    Minimum dividend to Class 9 Creditors $ 0.00
             Debtor(s)
                                                                                    Percentage of Tax Refunds committed 100%
__________________________________/


                                                                      CHAPTER 13 PLAN
                                         [ X ] Original              OR [ ]Pre-Confirmation Modification #

I.    NOTICES
TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. THIS PLAN MAY BE CONFIRMED AND
BECOME BINDING WITHOUT FURTHER NOTICE OR HEARING UNLESS A TIMELY WRITTEN OBJECTION IS
FILED. READ THIS DOCUMENT CAREFULLY AND CONSIDER SEEKING THE ADVICE OF AN ATTORNEY.
   Debtors must check one box on each line to state whether or not the Plan includes each of the following items:
 A. Nonstandard Provisions set out in Section IV. Under Federal Rule        Included                  Not included
     of Bankruptcy Procedure 3015(c), a “nonstandard provision”
     means a provision that is not otherwise included in the approved
     form for a Chapter 13 Plan in the Eastern District of Michigan.
 B. A limit on the amount of a secured claim based on a valuation of        Included                  Not included
     the collateral for the claim.
 C. Avoidance of a security interest or lien.                               Included                  Not included
      IF AN ITEM IS CHECKED AS “NOT INCLUDED” OR IF BOTH BOXES ARE CHECKED, THE PROVISION IS
      VOID EVEN IF OTHERWISE INCLUDED IN THE PLAN.
      ANY “NONSTANDARD PROVISION” THAT IS NOT SPECIFICALLY IDENTIFIED IN SECTION IV IS VOID.
      IF THIS SECTION I INDICATES THAT THIS PLAN DOES NOT INCLUDE ANY “NONSTANDARD
      PROVISIONS”, ANY “NONSTANDARD PROVISIONS” IN THIS PLAN (INCLUDING ANY OTHERWISE
      SPECIFICALLY LISTED IN SECTION IV) ARE VOID.
THIS PLAN IS SUBJECT TO AND INCORPORATES BY REFERENCE THE ADDITIONAL STANDARD PROVISIONS
WHICH MAY BE FOUND AT WWW.13EDM.COM or WWW.MIEB.USCOURTS.GOV OR FROM DEBTOR'S COUNSEL
UPON WRITTEN REQUEST.

II. APPLICABLE COMMITMENT PERIOD; PLAN PAYMENTS; PLAN LENGTH; EFFECTIVE DATE AND
    ELIGIBILITY FOR DISCHARGE:
      A.       Debtor’s Current Monthly Income exceeds the applicable State median income. Debtor’s Applicable Commitment Period
            is 60 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming Plan.
              Debtor’s Current Monthly Income is less than or equal to the applicable State median income. Debtor’s Applicable
            Commitment Period is 36 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming
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            Plan. This is a minimum Plan length. If the Plan has not been completed in the minimum Plan length, the Plan length shall
            be extended as necessary for completion of the requirements of the Plan; provided that in no event will the Plan term
            continue beyond 60 months from the date of entry of the Order Confirming Plan. See Paragraph J of the Additional Terms,
            Conditions and Provisions for additional information regarding Completion of Plan.
            If neither or both of the above boxes is checked, then the Applicable Commitment Period and the Plan Length shall be 60
            months from the date of entry of the Order Confirming Plan.
      B. Debtor’s plan payment amount is $694.62 Bi-weekly.
      C. Future Tax Refunds. See Paragraph A of the Additional Terms, Conditions and Provisions for additional information
         regarding Tax Refunds and Tax Returns.
 FOR CASES ASSIGNED TO BAY CITY DIVISION: Check only one box. If none are checked or more than one box is
 checked, paragraph 2 shall apply:
 1.    Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future Tax
     Refunds

 2.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
       pro-ration for anticipated Tax Refunds. Debtor will remit 50% of all Federal and State Tax Refunds that debtor receives or is
       entitled to receive after commencement of the case.

 3.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
       anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal and State Tax Refunds that debtor receives or is entitled
       to receive after commencement of the case to the extent the Refund exceeds the sum of twelve times the amount of the Federal
       and State Tax Refund pro-ration shown in Schedule I.

 FOR CASES ASSIGNED TO DETROIT DIVISION: Check only one box. If none are checked or more than one box is
 checked, paragraph 2 shall apply:
 1.    Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future Tax
     Refunds.

 2.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
       pro-ration for anticipated Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor receives or is entitled to
       receive after commencement of the case.

 3.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
       anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor receives or is entitled to receive
       after commencement of the case to the extent the Refund exceeds the sum of twelve times the amount of the Federal Tax Refund
       pro-ration shown in Schedule I.

 FOR CASES ASSIGNED TO FLINT DIVISION: Check only one box. If none are checked or more than one box is checked,
 paragraph 2 shall apply:
 1.     Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future tax
     refunds.

 2.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
       pro-ration for anticipated tax refunds. Debtor will remit 100% of all Federal Tax Refunds that Debtor receives or is entitled to
       receive after commencement of the case.

 3.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
       anticipated Federal Tax Refunds. Debtor is not required to remit Federal Tax Refunds in excess of the amount of the proration
       shown on Schedule I.
      D.       If the box to the immediate left is "checked", the debtor acknowledges that debtor is not eligible for a discharge pursuant
            to 11 USC §1328.
              If the box to the immediate left is "checked", the joint debtor acknowledges that joint debtor is not eligible for a discharge
            pursuant to 11 USC §1328.


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      E.       If the box to the immediate left is "checked", the debtor or joint debtor is self-employed AND incurs trade credit in the
            production of income from such employment. Debtor shall comply with the requirements of Title 11, United States Code,
            and all applicable Local Bankruptcy Rules regarding operation of the business and duties imposed upon the debtor.
III. DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS: See Paragraph F of the Additional Terms, Conditions
     and Provisions for additional information regarding the order in which claims are to be paid.
      A. Class One – TRUSTEE FEES as determined by statute.
      B. Class Two – ADMINISTRATIVE CLAIMS, INCLUDING ATTORNEYS FEES AND COSTS:
            1. PRE-CONFIRMATION ATTORNEY FEES: At confirmation of the Plan, Counsel shall elect to either:
                 a.     In lieu of filing a separate fee application pursuant to 11 USC §327 and §330, accept the sum of $ 3,500.00 for
                        services rendered plus $ 0.00 for costs advanced by Counsel, for total Attorney Fees and Costs of
                        $ 3,500.00 through the Effective Date of the Plan. The total Attorney Fees and Costs less the sum paid to Counsel
                        prior to the commencement of this case as reflected in the Rule 2016(b) Statement leaving a net balance due of
                        $ 3,400.00 , will be paid as an Administrative Expense Claim; or

                 b.     Request an award of compensation for services rendered and recovery of costs advanced by filing a separate
                        Application for Compensation for services rendered up through the date of entry of the Order Confirming Plan
                        pursuant to 11 USC §327 and §330. If Counsel elects to file a fee application pursuant to this sub-paragraph, the
                        Trustee shall escrow $3,500.00 for this purpose. See Paragraph B of the Additional Terms, Conditions and
                        Provisions for additional information.

            2. POST-CONFIRMATION ATTORNEY FEES: See Paragraph D of the Additional Terms, Conditions and Provisions
               for additional information.
            3. RETENTION OF OTHER PROFESSIONALS FOR POST-PETITION SERVICES: Debtor                                    has retained or
               intends to retain the services of (name of person to be retained) as (capacity or purpose for retention) to perform
               professional services post-petition with fees and expenses of the professional to be paid as an Administrative Expense.
               See Paragraph C of the Additional Terms, Conditions and Provisions for additional information.
            4. OTHER ADMINISTRATIVE EXPENSE CLAIMS: Any administrative expense claims approved by Order of Court
               pursuant to 11 USC §503 shall be paid as a Class Two administrative claim. See Paragraph E of the Additional Terms,
               Conditions and Provisions for additional information.
      C. CLASS THREE – SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND
         TREATED AS UNSECURED CLAIMS TO BE PAID BY TRUSTEE. See Paragraph G and Paragraph N of the
         Additional Terms, Conditions and Provisions for additional information.
            Class 3.1 Liens to be Stripped. 11 USC §506(a).
                                         Creditor                                                     Collateral
 -NONE-

            Class 3.2 Judicial Liens and Non-Possessory, Non-Purchase Money Liens to be Avoided. 11 USC §522(f).
                                         Creditor                                                     Collateral
 -NONE-

      D. CLASS FOUR - SECURED CLAIMS ON WHICH THE LAST CONTRACTUAL PAYMENT IS DUE BEYOND
         THE LENGTH OF THE PLAN. 11 USC §1322(b)(5).
            Class 4.1     Continuing Payments on a claim secured by the debtor's principal residence that come due on and after
                          the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the Additional Terms,
                          Conditions and Provisions for additional information).
                 Creditor                           Collateral                   Monthly Payment         Direct or Via Trustee
 Georgetown Commons of                         4246 Maple Dearborn, MI 48126                        138.00              Trustee
 Dearborn                                      Wayne County
 Seterus, Inc.                                 4246 Maple Dearborn, MI 48126                        572.97              Trustee
                                               Wayne County
            Class 4.2          Pre-Petition Arrearages on a claim secured by the debtor's principal residence to be paid by Trustee:
                               Those amounts which were due as of the filing of the Order for Relief:

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                                                                                                                  Estimated Average       Months to Cure From
                 Creditor                                       Collateral                   Arrears Amount       Monthly Payment          Confirmation Date
 Georgetown Commons of                         4246 Maple Dearborn, MI 48126                        8,000.00                   177.78                             45
 Dearborn                                      Wayne County
 Seterus, Inc.                                 4246 Maple Dearborn, MI 48126                        3,000.00                     66.67                            45
                                               Wayne County
            Class 4.3     Continuing Payments other than on a claim secured by the debtor's principal residence that come due on
                          and after the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the
                          Additional Terms, Conditions and Provisions for additional information).
                 Creditor                           Collateral                   Monthly Payment          Direct or Via Trustee
 -NONE-

            Class 4.4          Pre-Petition Arrearages other than on a claim secured by the debtor's principal residence to be paid by
                               Trustee: Those amounts which were due as of the filing of the Order for Relief:
                                                                                                                  Estimated Average       Months to Cure From
                 Creditor                                       Collateral                   Arrears Amount       Monthly Payment          Confirmation Date
 -NONE-


      E. CLASS FIVE - SECURED CLAIMS ON WHICH THE LAST PAYMENT WILL BECOME DUE WITHIN THE
         PLAN DURATION. (See Paragraph H, Paragraph L, Paragraph O, and Paragraph S of the Additional Terms, Conditions
         and Provisions for additional information).
           Class 5.1. Secured Claims not excluded from 11 USC §506 to be paid Equal Monthly Payments. 11 USC
                      §1325(a)(5)(B):
                                       Indicate if
                                   "crammed" *** or Interest rate Total to be paid
                                        modified        (Present       Including       Monthly
          Creditor/Collateral                          Value Rate)      Interest       Payment       Direct or Via Trustee
 -NONE-/


*** See debtor's Schedule A/B for more information about values.
            Class 5.2. Secured Claims not excluded from 11 USC §506 not to be paid Equal Monthly Payments. 11 USC
                      §1325(a)(5)(B):
                                                    Indicate if                                                      Estimated
                                                 "crammed"***or              Interest rate                           Average
                                                     modified                  (Present       Total to be paid       Monthly
          Creditor/Collateral                                                Value Rate)     including interest      Payment             Direct or Via Trustee
 -NONE-/


*** See debtor's Schedule A/B for more information about values.
            Class 5.3. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                      to be paid “Equal Monthly Payments”. 11 USC §1325(a)(5)(B).
                                                                             Interest rate
                                                      Indicate if              (Present       Total to be paid       Monthly
          Creditor/Collateral                         "modified              Value Rate)     Including interest      Payment             Direct or Via Trustee
 Credit Acceptance                             Modified                             5.25%             9,345.00            155.75               Trustee
 Corporation/2007 Ford
 Escape 150,000 miles
            Class 5.4. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                      not to be paid Equal Monthly Payments. 11 USC §1325(a)(5)(B).




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                                                                                                                    Estimated
                                                      Indicate if           Interest rate                           Average
                                                      "modified               (Present       Total to be paid       Monthly
          Creditor/Collateral                                               Value Rate)     Including interest      Payment          Direct or Via Trustee
 Wayne County                                  Modified                           12.00%              509.82              11.33            Trustee
 Treasurer/1256 Ethel Detroit,
 MI 48217 Wayne County
 Wayne County                                  Modified                           18.00%             1,759.25             39.09            Trustee
 Treasurer/1256 Ethel Detroit,
 MI 48217 Wayne County
 Wayne County                                  Modified                           12.00%             3,264.01             72.53            Trustee
 Treasurer/1256 Ethel Detroit,
 MI 48217 Wayne County
 Wayne County                                  Modified                           12.00%             2,095.71             46.57            Trustee
 Treasurer/1256 Ethel Detroit,
 MI 48217 Wayne County
 Wayne County                                  Modified                           12.00%             1,884.03             41.87            Trustee
 Treasurer/1256 Ethel Detroit,
 MI 48217 Wayne County
            Class 5.5. Surrender of collateral. (See Paragraph P of the Additional Terms, Conditions and Provisions for additional
                      information).
The debtor(s) surrenders debtor’s interest in the following collateral. Any allowed unsecured claim remaining after disposition of the
collateral will be treated as a Class 9 General Unsecured Creditor.
                        Creditor Name                                                               Description of Collateral
 -NONE-

      F. CLASS SIX – EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES. 11 USC §§365, 1322(b)(7): Debtor
         assumes the executory contracts and unexpired leases listed in subparagraph 1. (See Paragraph K of the Additional
         Terms, Conditions and Provisions for additional information).
            Class 6.1. Continuing Lease/Contract Payments:
                                                                                                      Monthly          Lease/Contract        Direct or Via
                 Creditor                                            Property                         Payment          expiration date         Trustee
 Nathan & Rhonda Nixon                         Lease on Rental Property 1256 Ethel                         500.00 Month to Month                  Direct
                                               Detroit, MI 48217
                                               *Debtor as landlord, rent paid to Debtor
                                               directly*
            Class 6.2. Pre-petition Arrearages on Assumed Executory Contracts and Leases (to be paid by Trustee):
                                                                                                                 Estimated Average    Months to Cure From
                 Creditor                                        Property                   Arrears Amount       Monthly Payment       Confirmation Date
 -NONE-

            Class 6.3. Debtor rejects the executory contracts and unexpired leases listed in this subparagraph 3. Any unexpired
                       lease or executory contract that is neither expressly assumed in Class 6.1 above or expressly rejected below
                       shall be deemed rejected as of the date of confirmation of debtor’s chapter 13 plan to the same extent as if
                       that unexpired lease or executory contract was listed below. (See Paragraph K of the Additional Terms,
                       Conditions and Provisions for additional information):
                                         Creditor                                                                     Property
 Progressive Leasing, LLC                                                                 Lease to own agreement for Household Goods: Furniture




      G. CLASS SEVEN – PRIORITY UNSECURED CLAIMS. 11 USC §§507, 1322(a)(2).
            Class 7.1. Domestic Support Obligations: Continuing Payments that come due on and after the date of the Order for
                       Relief:
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                               Creditor                                      Monthly Payment                          Direct or Via Trustee
 -NONE-

            Class 7.2. Domestic Support Obligations: Pre-Petition Arrearages due as of the filing of the Order for Relief:
                                                                                                  Estimated Average
                            Creditor                                    Arrears Amount            Monthly Payment             Direct or Via Trustee
 -NONE-

            Class 7.3. All Other Priority Unsecured Claims [11 U.S.C. §1322(a)(2)]
                               Creditor                                          Amount                               Direct or Via Trustee
 City of Detroit - Treasurer                                                                   600.00                       Trustee
 IRS - Internal Revenue Service                                                              5,239.31                       Trustee
 Michigan Department of Treasury-CD                                                          1,000.00                       Trustee
      H. CLASS EIGHT – SEPARATELY CLASSIFIED UNSECURED CLAIMS. 11 USC §1322(b)(1): (To be paid by
         Trustee): (See Paragraph M of the Additional Terms, Conditions and Provisions for additional information):
               Creditor                                        Amount                    Interest Rate         Reason for Special Treatment
 -NONE-

      I.    CLASS NINE - GENERAL UNSECURED CLAIMS (to be paid by Trustee): – See Paragraph N of the Additional Terms,
            Conditions and Provisions for additional information.
                   This Plan shall provide a total sum for distribution to creditors holding Class 9 General Unsecured claims in an amount
                   that is not less than the Amount Available in Chapter 7 shown on Attachment 1, Liquidation Analysis and Statement of
                   Value of Encumbered Property (the “Unsecured Base Amount”). This Plan shall provide either (i) the Unsecured Base
                   Amount; or (ii) will continue for the full Plan Length as indicated in Paragraph II.A of this Plan, whichever yields the
                   greater payment to Class 9 Unsecured Creditors. See Attachment 2, Chapter 13 Model Worksheet, Line 8, for
                   additional information concerning funds estimated to be available for payment to Class 9 Unsecured Creditors.

                   This Plan shall provide a dividend to holders of Class 9 General Unsecured Claims equal to 100% of allowed claims.
      If neither box is checked or if both boxes are checked, then the plan shall pay the Unsecured Base Amount.
                   If the box to the immediate left is "checked", creditors holding claims in Class Seven, Eight and Nine shall receive
                   interest on their allowed claims at the rate of 0.00% per annum as required by 11 USC §1325(a)(4).
IV. Nonstandard Plan Provisions:
               ANY "NONSTANDARD PROVISION" THAT IS NOT BOTH INCLUDED IN SECTION 1.A AND
               SPECIFICALLY STATED IN THIS SECTION IS VOID.

               A. Part V.D. shall read as follows: POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE
               APPLICATION: Counsel reserves the right to file Applications for compensation for services rendered subsequent
               to the Confirmation of this Plan.

I, Brian P. Dunne, Attorney for Debtor (or Debtors if not represented by an attorney), certify that this Plan
contains no "Nonstandard Provisions" other than those set out in Section IV above.

 /s/ Brian P. Dunne                                                                      /s/ Karen Leontine Pasley
 Brian P. Dunne P-71177                                                                  Karen Leontine Pasley
 Attorney for Debtor                                                                     Debtor
 29777 Telegraph Road, Suite 1630
 Southfield, MI 48034
 Street Address
 Southfield, MI 48034-0000                                                               Joint Debtor
 City, State and Zip Code
 edmi@arddun.com
 E-Mail Address                                                                           2/07/2018
 (248) 557-7488                                                                          Date
 Phone Number

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                                                                           ATTACHMENT 1
                     LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY:

                                                                                                 DEBTOR'S
                                                     FAIR MARKET                                 SHARE OF       EXEMPT         NON-EXEMPT
        TYPE OF PROPERTY                                VALUE                   LIENS             EQUITY        AMOUNT           AMOUNT

     PERSONAL RESIDENCE                                         65,226.00        105,152.89             0.00           0.00                      0.00


 REAL ESTATE OTHER THAN                                         28,600.00          5,945.28        22,654.72      13,100.00                9,554.72
   PERSONAL RESIDENCE


   HHG/PERSONAL EFFECTS                                              5,000.00            0.00        5,000.00      5,000.00                      0.00



                 JEWELRY                                              400.00             0.00         400.00          400.00                     0.00



     CASH/BANK ACCOUNTS                                               220.00             0.00         220.00            0.00                  220.00



                VEHICLES                                             4,725.00         8,203.66           0.00           0.00                     0.00



            OTHER (itemize)

 MIP Pension (Member
 Investment Plan): Michigan                                     24,200.00                0.00       24,200.00     24,200.00                      0.00
 Office of Retirement Services
 Through Work - Health, Dental,
 Vision Insurance.                                                      0.00             0.00            0.00           0.00                     0.00
 Beneficiary: Debtor
 Through Work - Term Life
 Insurance                                                              0.00             0.00            0.00           0.00                     0.00
 Beneficiary: Sister and Niece

              OTHER (total)                                     24,200.00                0.00       24,200.00     24,200.00                      0.00




                          Amount available upon liquidation                                                       $                       8,304.63

                          Less administrative expenses and costs                                                  $                       3,675.29

                          Less priority claims                                                                    $                       6,839.31

                          Amount Available in Chapter 7                                                           $                             0.00




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                                                                           ATTACHMENT 2

                                                           CHAPTER 13 MODEL WORKSHEET
                                                       LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M
 1.          Proposed length of Plan:                                    60        months

 2.          Initial Plan Payment:
            $1,505.00 per month x 60 months = $90,300.00 (subtotal)

             Additional
 3.          Payments:                  $                        per=$(subtotal)

 4.          Lump sums payments                                                                                                         $0.00

 5.          Total to be paid into Plan (total of lines 2 through 4)                                                             $90,300.00

 6.          Estimated disbursements other than to Class 9 General Unsecured Creditors

             a. Estimated Trustee Fees                                                        $6,772.80

             b. Estimated Attorney Fees and costs through
                confirmation of plan                                                          $3,400.00

             c. Estimated Attorney Fees and costs post-confirmation
                through duration of Plan                                                       $600.00

             d. Estimated fees of other Professionals                                             $0.00

             e. Total mortgage and other continuing secured debt
                payments                                                                     $42,658.20

             f. Total non-continuing secured debt payments
                (including interest)                                                         $18,857.82

             g. Total priority claims                                                         $6,839.31

             h. Total arrearage claims                                                       $11,000.00
             Total disbursements other than to Class 9 General Unsecured Creditors
 7.          (Total of lines 6.a through 6.h)                                                                        $            90,128.13

             Funds estimated to be available for Class 9 General Unsecured Creditors
 8.          (Line 5 minus Line 7)                                                                               $                    171.87

             Estimated dividend to Class 9 General Unsecured Creditors in Chapter 7 proceeding
 9.          (see Liquidation Analysis on page 6)                                                                $                        0.00



COMMENTS:




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